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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                           )
                                                   )
                 v.                                )
                                                   )
RICHARD W. GATES III,                              )            Crim. No. 17-201-2 (ABJ)
                                                   )
                 Defendant.                        )


      DEFENDANT RICHARD W. GATES III’S UNOPPOSED MOTION TO MODIFY
               RELEASE CONDITIONS FOR LIMITED PURPOSES
            TO ATTEND HIS CHILD’S CHRISTMAS CONCERT EVENT

          Richard W. Gates III, by and through counsel, hereby moves this Court for modification

of his release conditions for limited purposes so that he may participate in his child’s Christmas

Concert event taking place this Wednesday. The United States does not oppose this motion. The

event that he is expected to attend is scheduled for this Wednesday, December 20, 2017, at a

location in Richmond, Virginia, less than three miles from Mr. Gates’s residence, from 8:30 a.m.

until 10:30 a.m. Mr. Gates requests a limited release to attend this event 1.

          If this Court permits this limited release, Mr. Gates will promptly provide Pre-Trial

Services with specific information about the event, including the times and locations. Mr. Gates

will also continue to abide by all of his other release conditions, including reporting to Pre-Trial

Services as well as maintaining his GPS monitor.




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    See Attached Exhibit 1 filed under seal for specifics of the event address.
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       WHEREFORE, Mr. Gates hereby respectfully moves this Court to modify his release

conditions for limited purposes so that he can participate in his child’s Christmas Concert event

described above.

                                             Respectfully submitted,


                                             _/s/Shanlon Wu_______________
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